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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                              Case No. 15-cr-20457
                                                    Hon. Matthew F. Leitman
v.

D2, KIARA HOBBS,

           Defendant.
____________________________________________________________________/

      ORDER MODIFYING CONDITIONS OF DEFENDANT’S BOND

      As stated on the record on April 19, 2016, IT IS HEREBY ORDERED THAT

the conditions of Defendant’s bond are MODIFIED as follows:

      1. Defendant shall participate in a mental health evaluation/treatment as

         directed by Pretrial Services.

      2. Defendant shall refrain from the use of any alcohol.

      3. All other conditions of Defendant’s bond remain in place.

      4. Defendant shall strictly comply with all conditions of bond.

      IT IS SO ORDERED.

                                          /s/Matthew F. Leitman
                                          MATTHEW F. LEITMAN
                                          UNITED STATES DISTRICT JUDGE
Dated: April 25, 2016
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 25, 2016, by electronic means and/or ordinary mail.

                                              s/Holly A. Monda
                                              Case Manager
                                              (313) 234-5113
